          Case 5:24-cv-00703-PCP Document 54 Filed 07/30/24 Page 1 of 6




July 30, 2024                                         REDACTED VERSION OF DOCUMENT
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The Honorable P. Casey Pitts
United States District Judge
United States District Court for the Northern District of California
Robert F. Peckham Federal Building and U.S. Courthouse
Courtroom 8, 4th Floor
280 South First Street
San Jose, California, 95113
Re:    Display Technologies, LLC v. Discord Inc., No. 5:24-cv-00703-PCP (N.D. California)
Dear Judge Pitts:
The parties respectfully submit this joint discovery letter. On June 17, defendant Discord Inc.
served Jurisdictional Requests for Production (JRFPs, Ex. 1); Jurisdictional Interrogatories (JIs,
Ex. 2); and Jurisdictional Requests for Admission (JRFAs, Ex. 3). On July 8, plaintiff Display
Technologies, LLC served responses and objections. (Exs. 4-6.) On July 9, plaintiff produced
documents from Display                      ; on July 12, plaintiff produced documents from
Display                   , and confirmed its production was complete. The parties met and
conferred on July 9, 11, and 12, but could not resolve these disputes. Discord provided its
portion of this letter on July 16; plaintiff provided its portion on July 30.
1.     Discord’s Statement
Plaintiff’s contempt of this Court continues. In its opposition and its supplemental brief, plaintiff
provided only one fact: that it owns the asserted patents. Plaintiff’s interrogatory responses state
only the same fact. Plaintiff has not produced even documents it admitted are relevant during the
recent status conference. Plaintiff also seeks to bar almost any inquiry, including requests that
merely mention its principal Leigh Rothschild, by claiming that information is not ‘in its files.’
Plaintiff will continue its standard strategy of evasion and delay until the Court orders otherwise.
       A.       Plaintiff’s Production in Response to Discord’s Jurisdictional Discovery
Plaintiff denied all of Discord’s JRFAs, refused to respond to Discord’s JIs except to note that it
owns the patents-in-suit, and produced         pages before reporting on July 12 that its
production was complete. 1,045 pages are prosecution histories from the P.T.O. or plaintiff’s
filings downloaded from the Texas Secretary of State, all of which Discord already had. Of the
     other pages,



       B.       Plaintiff Must Search Documents Accessible to Its Principal
Many of plaintiff’s objections depend on its assertion that Discord may seek only documents or
information ‘in the files’ of plaintiff itself, and may not seek documents or information ‘in the
files’ of Mr. Rothschild or his other companies—which includes documents or information even
mentioning those companies or Mr. Rothschild. E.g., JRFAs 1-9. Plaintiff’s argument fails
factually and legally. On the facts, there is no reason to believe the Rothschild entities have
          Case 5:24-cv-00703-PCP Document 54 Filed 07/30/24 Page 2 of 6

The Honorable P. Casey Pitts
United States District Judge
July 30, 2024
Page 2

different ‘files.’ Plaintiff refused to explain any such differences, see, e.g., JRFP 23 & JI 13,
likely because none exist. Mr. Rothschild has repeatedly referred to his companies’ files
collectively, see, e.g., Docket Nos. 20-35 ¶¶ 4-5, 20-37 ¶¶ 4-5, 20-39 ¶¶ 4-5,

                                            Plaintiff has admitted these records are undifferentiated
by claiming to separate them based on the contents of the documents themselves, for example,
by claiming that settlements including a Display Technologies signature block are ‘in the files’ of
plaintiff, but that settlements not including such a block are not. If the Rothschild entities’
records were already separated, plaintiff would not need to separate them after collection by
reviewing each document and applying its counsel’s conception of what falls in its ‘files.’
Legally, however, it does not matter if the Rothschild entities have integrated or separated files.
Because any and all of their files are accessible to Mr. Rothschild, manager and ultimate owner
of plaintiff, he must search them in response to Discord’s discovery requests. A party must
provide “information available from a non-party if the information is ‘readily obtainable’ from
that entity.” Doe v. AT&T, No. 11-4603, 2012 WL 1669882, at *2 (N.D. Cal. May 14, 2012). “A
party having actual possession of documents must allow discovery even if the documents belong
to someone else; legal ownership of the documents is not determinative.” Brown v. Fambrough,
No. 09-573, 2011 WL 1466601, at *3-4 (E.D. Cal. Apr. 18, 2011). Applying these rules, Apple
had to produce Qualcomm and Intel documents because “Apple’s engineers can access” the
“requested documents in the Qualcomm and Intel repositories.” Apple Inc. v. Wi-LAN Inc., No.
14-2235, 2017 WL 11680855, at *4 (S.D. Cal. Nov. 28, 2017). Just as Apple’s engineers had to
search all the files they could access, so must Mr. Rothschild, the manager and ultimate owner of
plaintiff, search all the files he can access, which includes all the files of all his companies. Id.
Separately, Discord seeks documents “relevant to determining whether an alter ego relationship
exists,” Del Campo v. Am. Corrective Counseling Servs., No. 01-21151, 2008 WL 4858502, at
*1 (N.D. Cal. Nov. 10, 2008), regarding which courts have extended discovery to documents
held by non-parties. Chesapeake Operating, Inc. v. Stratco Operating Co., 2009 WL 426101, at
*8 & n.5 (M.D. La. 2009) (collecting cases). Finally, there is no burden here; Mr. Rothschild
keeps his companies’ records close, see supra, and producing documents without limiting them
by company would end up being less burdensome than the path plaintiff has chosen, which
requires analysis of each document to determine which company purportedly has it ‘in its files.’
The Court should therefore require plaintiff to produce all documents accessible to its principal
Leigh Rothschild, including all documents in ‘the files’ of any of Mr. Rothschild’s companies.
       C.       Plaintiff Must Respond to Discord’s Jurisdictional Discovery
The Softballs. JRFPs 1-4 and JIs 1-3 simply ask plaintiff to support its own previous arguments
to this Court. Compare, e.g., JRFP 2 & JI 2 with Docket No. 33 & Docket No. 46 at 10. But
plaintiff responded only that it owns the patents, Ex. 5 at 5:15-16, otherwise refused to answer
the interrogatories, see generally id., and produced no responsive documents. Similarly, JRFPs
8-10 ask plaintiff to supply documents that it contends work against a finding of alter ego.
Plaintiff should have such evidence readily available if it exists. Again, however, plaintiff
          Case 5:24-cv-00703-PCP Document 54 Filed 07/30/24 Page 3 of 6

The Honorable P. Casey Pitts
United States District Judge
July 30, 2024
Page 3

produced nothing. The Court should order plaintiff’s prompt production of relevant documents
and information, and preclude plaintiff from making any arguments it does not disclose.
The Global Agreements. JRFPs 5-7 and JI 4 seek agreements showing Mr. Rothschild’s and
Patent Asset Management’s ability to license the Rothschild companies’ patents and relevant
related documents. Plaintiff previously conceded the relevance of these documents, see Docket
No. 46 at 12:21-24, but then produced only agreements counsel deemed to be ‘in the files’ of
plaintiff,
                                                                  Discord already has one such
agreement, with GNOME (Docket No. 20-72), and there are likely many more, unless the
Rothschild entities made global agreements only through plaintiff, which the GNOME license
confirms is not correct. The Court should order plaintiff’s prompt responses to these requests.
The Reality Checks. JRFAs 1-4 seek confirmation of facts plaintiff has either explicitly admitted
or not previously contested. Nevertheless, plaintiff objected and refused to answer any of them.
The Court should order plaintiff to promptly enter an unqualified admission or denial.
The Business Plans and Communications. JRFPs 11-14 seek communications between the
companies and their business plans, including as shared with potential or actual investors. These
documents will show that the Rothschild companies operate as a single entity, and thus that the
assertion entities are alter egos of Patent Asset Management and Mr. Rothschild, depriving them
of standing. The Court should order plaintiff’s prompt responses to these requests.
The Admit-or-Explains. JRFAs 5-15 seek admissions regarding the relationship between Mr.
Rothschild, Patent Asset Management and the assertion entities; JRFPs 15-25 and JIs 5-15 seek
information and documents only for denied admissions. The Court noted its search for facts on
the “nature of the relationship” between these parties, Docket No. 46 at 11:6-13, but plaintiff has
frustrated this search. Asea, Inc. v. S. Pac. Transp. Co., 669 F.2d 1242, 1246-47 (9th Cir. 1981).
The Court should order plaintiff to promptly enter an unqualified admission or denial to each of
these JRFAs and, for each denial, to provide responses to the corresponding JRFP and JI.
2.     Plaintiff’s Statement
The Court has allowed Discord to pursue jurisdictional discovery and stayed all other discovery
in this case under in a Minute Order entered at the last Status Conference. But Discord is serving
discovery beyond the scope of Rule 26(b)(1) on the narrowly tailored issue of standing of
Plaintiff Display Technologies, LLC. Display now moves in this letter for clarification of the
scope of this Court’s minute order, as under Rule 26(c).
Discord has improperly subpoenaed the bank records for Patent Asset Management, LLC, the
parent company of the Plaintiff. Damages discovery is not taking place, and bank account
records for a parent company and any subsidiaries is an invasion of privacy of third parties not
involved in this litigation. Plaintiff asked Defendant to limit its subpoena and its discovery on
Plaintiff to just be limited to the named party, but Defendant refused, insisting on bringing this
issue to the Court after the parties met and conferred a few times.
          Case 5:24-cv-00703-PCP Document 54 Filed 07/30/24 Page 4 of 6

The Honorable P. Casey Pitts
United States District Judge
July 30, 2024
Page 4

Discord also served at least 5 (five) subpoenas on third parties that did not involve any of the
patents-in-suit. This is not acceptable when the victim of patent infringement is the Plaintiff, and
there is no dispute among even the alleged other non-joined victims Patent Asset Management,
LLC and Leigh Rothschild that the registered owner of the asserted patents-in-suit is Plaintiff
Display Technologies, LLC.
Rule 17 titled “Plaintiff and Defendant; Capacity; Public Officers” governs capacity for a
plaintiff. Fed. R. Civ. P. 17(a). Rule 17(a) titled “Real Party In Interest” is applicable to
standing. Rule 17(a) recites, in pertinent part that, “An action must be prosecuted in the name of
the real party in interest.” Id. Here, the patent owner is the plaintiff, Display Technologies,
LLC. Subject Matter jurisdiction is proper in this District Court under the Patent Statutes,
including 1391(c). Under Section 1400(b), Personal Jurisdiction and Venue are both proper in
this District as Discord has its headquarters in this District. Title 28 U.S.C. § 1400(b)
(“§1400(b), provides that: ‘[a]ny civil action for patent infringement may be brought in the
judicial district where the defendant resides, or where the defendant has committed acts of
infringement and has a regular and established place of business.’”). As such, standing is
established and rebutted by the hearsay evidence with no exception that applies, which Discord
provided to the Court prompting the Court ask for additional discovery on the standing issue.
To the extent that a party in the year 2016, specifically Valve Corporation, wanted a signature
from Mr. Leigh Rothschild to push an agreement over the finish line is not relevant, or
“evidence” of a “lack of standing” for a third party accused of patent infringement that was never
meant to be a beneficiary of that agreement to attempt to create a standing dispute. Also, it is an
affirmative defense that Discord has morphed into an Alter Ego defense, but again, the victim of
patent infringement is the plaintiff Display Technologies, LLC, not Discord.
Plaintiff has indicated repeatedly that it has capacity to bring this lawsuit and under Defendant
Discord’s position, the other victims that may attempt to recover from Discord for patent
infringement are only either or both Leigh Rothschild the director of Display Technologies, LLC
or the parent company of the plaintiff Display Technologies, LLC.
None of the case law involves a third party being asked to produce documents, but instead it is
an actual named party to a lawsuit. Simply put, the case law cited by Discord does not allow it to
participate in alter ego discovery without first joining those alleged alter ego non-parties.
At the last CMC Plaintiff identified the disparity in the economic positions of the parties and
appreciates the Court’s observation of this factor in determining an appropriate scope for
discovery and tailoring a discovery order that is not overly broad, expensive to the plaintiff or
defendant, impacts parties not named or joined in this litigation, and is costly to third parties that
now Discord with its apparently unlimited resources has served more than five subpoenas on
non-parties to this litigation involving litigation resolution agreements of non-parties. Simply
put, Plaintiff needs the Court to limit discovery to the parties in this lawsuit because the burden is
beyond the scope of the alleged patent infringement damages stated to the Court and the
defendant in the joint statement to the Court.
          Case 5:24-cv-00703-PCP Document 54 Filed 07/30/24 Page 5 of 6

The Honorable P. Casey Pitts
United States District Judge
July 30, 2024
Page 5

Discord has engaged in a scorched earth attempt to at best prove the Court should enjoin, if
possible, non-parties Patent Asset Management, LLC and Leigh Rothschild. Rule 19(c). The
victim of patent infringement is the owner Display Technologies, LLC. Yes, its parent company,
Patent Asset Management, LLC, incorporated in Florida, benefits to some amount from this
lawsuit. But it Patent Asset Management, LLC, agrees that its subsidiary Display Technologies,
LLC is the proper Plaintiff. So the concern of a non-party victim may not compensatory
damages upon a finding of patent infringement does not exist here.
As such, information about non-joined parties, Patent Asset Management, LLC and Leigh
Rothschild are “not proportional to the needs of the case, considering the importance of the
issues at stake in the action, the amount in controversy, the parties’ relative access to relevant
information, the parties’ resources, the importance of the discovery in resolving the issues, and
whether the burden or expense of the proposed discovery outweighs its likely benefit.” Rule
26(b)(1).
Plaintiff has objected on the ground that requests for documents about any “Related Patent” are
impermissibly broad, as such requests could include “any patent in the world, regardless of
inventorship, that is related to the subject matter of the Patents-in-Suit.” (JS1 at 13). Plaintiff’s
overbreadth objection is well-taken. At this time, defendant has not established how documents
regarding any “Related Patent,” as that term is defined in the discovery requests, are relevant to
any claims or defenses in this action, Because plaintiff’s suit against defendant is limited to three
patents, defendant’s wide-sweeping requests encompassing all “Related Patents” could result in
the production of a significant amount of irrelevant documents, while the task of collecting and
reviewing this volume of documents could consume an inordinate amount of time on the part of
plaintiff. The Court will not permit what amounts to a fishing expedition into documents with
little to no apparent probative value and an accompanying burden that is not proportional to the
needs of the case. See Rivera v. NIBCO, 364 F.3d 1057, 1072 (9th Cir. 2004) (noting that district
courts “need not condone the use of discovery to engage in fishing expeditions”).
For these reasons, because the requests seek discovery that would exceed the bounds of Rule
26(b)(1), the Court narrows the scope of the requests by excluding demands for documents and
things concerning any “Related Patent.” See Kajeet, Inc. v. Qustodio, LLC, SA CV
18-1519-JAK (PLAx), C. D. Cal. October 22, 2019) (J. Abrams).
Respectfully Submitted,

_________________
/s/ Randall Garteiser __________________          ___________________________________
Randall Garteiser (State Bar No. 231821)          Matthew S. Warren (State Bar No. 230565)
GARTEISER HONEA, PLLC                             WARREN KASH WARREN LLP
Attorneys for Plaintiff Display                   Attorneys for Defendant Discord Inc.
Technologies, LLC
         Case 5:24-cv-00703-PCP Document 54 Filed 07/30/24 Page 6 of 6


                                    SIGNATURE ATTESTATION
       Under Local Rule 5-1(i)(3), I attest that I have obtained concurrence in the filing of this

document from the other signatories.

Date: July 30, 2024                               __________________________________
                                                  Matthew S. Warren
